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16

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20
       WHATSAPP LLC, and                 )
21     META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
                                         )
22                     Plaintiffs,       )          DECLARATION OF MICAH G.
                                         )          BLOCK IN SUPPORT OF
23            v.                         )          ADMINISTRATIVE MOTION TO
                                         )          CONSIDER WHETHER ANOTHER
24                                                  PARTY’S MATERIAL SHOULD BE
       NSO GROUP TECHNOLOGIES LIMITED )             FILED UNDER SEAL
25     and Q CYBER TECHNOLOGIES LIMITED, )
                                         )          Ctrm: 3
26                     Defendants.       )          Judge: Hon. Phyllis J. Hamilton
                                         )          Action Filed: October 29, 2019
27                                       )
28                                       )
     Case 4:19-cv-07123-PJH          Document 557-1        Filed 02/24/25      Page 2 of 2



 1           I, Micah G. Block, declare as follows:

 2           1.      I am an attorney licensed to practice law in the state of California. I am a partner

 3    at Davis Polk & Wardwell LLP, counsel for Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 4    (“Plaintiffs”) in the above-captioned action (the “Action”). I have personal knowledge of the facts

 5    set forth below and, if called as a witness in a court of law, could and would testify competently

 6    thereto.

 7           2.      I submit this Declaration pursuant to Civil Local Rule 79-5 in support of the Ad-

 8    ministrative Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal

 9    filed concurrently herewith.

10           3.      Attached hereto is a true and correct copy of the unredacted version of Plaintiffs’

11    Notice of Motion and Motion for Permanent Injunction (the “Motion for Permanent Injunction”).

12           4.      Portions of the Motion for Permanent Injunction contain, refer to, or derive from,

13    materials that have been designated by Defendants and/or nonparty Joshua Shaner as “Confiden-

14    tial” or “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31, 2020 Stipulated

15    Protective Order (Dkt. No. 132) in the Action. Plaintiffs, therefore, must, under the terms of the

16    Stipulated Protective Order, redact portions of the Motion for Permanent Injunction. Plaintiffs

17    reserve the right to challenge any confidentiality designations under the Stipulated Protective Or-

18` der governing this Action as well as the sealability of the materials at issue.

19           I declare under the penalty of perjury that the foregoing is true and correct.

20           Executed on the 24th day of February, 2025 in Redwood City, California.

21                                               By:

22                                                     /s/ Micah G. Block
                                                       Micah G. Block
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                                                       1
      DECL. OF M. BLOCK ISO ADMIN. MOT. TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FUS
      CASE NO. 4:19-CV-07123-PJH
